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                                   3                               UNITED STATES DISTRICT COURT

                                   4                           NORTHERN DISTRICT OF CALIFORNIA

                                   5                                       SAN JOSE DIVISION

                                   6

                                   7     RAMON FUENTES,                                   Case No. 22-cv-04953-BLF
                                   8                  Plaintiff,
                                                                                          JUDGMENT OF DISMISSAL
                                   9            v.

                                  10     NATIONAL TRUST COMPANY
                                         DEUTSCHE BANK, et al.,
                                  11
                                                      Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14         Plaintiff’s action having been dismissed without prejudice,

                                  15         It is hereby ordered and adjudged that Plaintiff take nothing by this action and that

                                  16         Judgment is entered for Defendants and against Plaintiff.

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                                  18   Dated: August 8, 2023

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                                                                                      BETH LABSON FREEMAN
                                  20                                                  United States District Judge
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